      Case 4:11-cr-00340 Document 395 Filed on 12/20/12 in TXSD Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
VS.                                            §     CRIMINAL NO. H-11-340
                                               §
                                               §
                                               §
THOUNG HONG NGUYEN, et al.                     §

                                          ORDER

       The motion for extension of time to file motion for new trial, (Docket Entry No. 365), is

moot. The motion was filed timely.

              SIGNED on December 20, 2012, at Houston, Texas.


                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
